                                                  Case 2:21-cv-01795-GMN-VCF Document 16 Filed 12/01/21 Page 1 of 3



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                                             11
                                                                               UNITED STATES DISTRICT COURT
PETERSON BAKER, PLLC




                                             12
                                                                                     DISTRICT OF NEVADA
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                                             13
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                                                   RESEAU DOCTEUR, INC., a Delaware                 Case No.: 2:21-cv-01795-GMN-VCF
                                             14    Corporation,
                                                                Plaintiff,
                                             15
                                                   v.                                               STIPULATION AND [PROPOSED]
                                             16                                                     ORDER TO TRANSFER VENUE TO
                                                   ALEX OLADELE, an individual,                     UNITED STATES DISTRICT COURT
                                             17                                                     FOR THE NORTHERN DISTRICT OF
                                                                  Defendant.                        GEORGIA
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                                             20          Pursuant to 28 U.S.C. § 1404(a), Defendant Alex Oladele ("Mr. Oladele"), by and through

                                             21   his counsel of record, the law firms of Peterson Baker, PLLC and Walker & Associates LLC, and

                                             22   Plaintiff Réseau Docteur, Inc., ("RDI"), by and through its counsel of record, the law firm of

                                             23   Greenspoon Marder LLP, hereby consent to and jointly seek an Order transferring this action to the

                                             24   United States District Court for the Northern District of Georgia. In support thereof, Mr. Oladele

                                             25   and RDI state as follows:

                                             26          1.     RDI filed its Complaint [ECF No. 1] ("Complaint") against Mr. Oladele on

                                             27   September 28, 2021.

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                                                  Case 2:21-cv-01795-GMN-VCF Document 16 Filed 12/01/21 Page 2 of 3



                                             1            2.      Copies of the Summons and the Complaint were served on Mr. Oladele in Atlanta,

                                             2    Georgia on October 25, 2021. (See Affidavit of Service [ECF No. 11].)

                                             3            3.      Pursuant to the Court's Order [ECF No. 14] approving the parties' stipulation dated

                                             4    November 16, 2021 [ECF No. 12], Mr. Oladele was granted an extension of time to and including

                                             5    December 3, 2021, to file and serve his answer or other response to the Complaint.

                                             6            4.      Pursuant to 28 U.S.C. § 1404(a), the Court may, "[f]or the convenience of parties

                                             7    and witnesses" and "in the interest of justice", transfer this action to any other district "where it

                                             8    might have been brought or to any district or division to which all parties have consented."

                                             9            5.      Counsel for Mr. Oladele and RDI have met and conferred regarding transferring this

                                             10   action to the United States District Court for the Northern District of Georgia.

                                             11           6.      Mr. Oladele and RDI agree this action could have been filed in the United States
PETERSON BAKER, PLLC




                                             12   District Court for the Northern District of Georgia.
                       Las Vegas, NV 89101
                         701 S. 7th Street




                                             13           7.      Mr. Oladele and RDI consent to the transfer of this action to the United States
                           702.786.1001




                                             14   District Court for the Northern District of Georgia for the convenience of the parties and witnesses

                                             15   and in the interest of justice.

                                             16           8.      Mr. Oladele and RDI respectfully request that an Order be entered pursuant to 28

                                             17   U.S.C. § 1404(a) transferring this action from the United States District Court, District of Nevada

                                             18   to the United States District Court for the Northern District of Georgia.

                                             19           9.      Nothing in this Stipulatio n modifies the deadlines agreed to by the parties and

                                             20   approved in the Court's Order [ECF No. 14].

                                             21           10.     Should the Court approve this Stipulation, Mr. Oladele and RDI shall bear their own

                                             22   attorneys' fees related to the transfer of venue; however, Mr. Oladele and RDI agree to equally

                                             23   share in any filing fees that may be required by the transfer.

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                                             1           11.    This Stipulation is not for the purpose of delay and does not prejudice any party.

                                             2           Respectfully submitted this 29th day of November, 2021.

                                             3
                                                   PETERSON BAKER, PLLC                            GREENSPOON MARDER LLP
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                                             5
                                                  By: /s/ Nikki L. Baker_________________          By: /s/ Phillip A. Silvestri_______________
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                                             15
                                                   Attorneys for Defendant Alex Oladele
                                             16

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                                             19                                   IT IS SO ORDERED.
                                                                                                        December
                                             20                                               1
                                                                                  Dated this ____ day of November, 2021.
                                             21

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                                                                                                           12/1/21
                                                                                  ___________________________
                                             23
                                                                                  Gloria M. Navarro, District Judge
                                             24                                   UNITED STATES DISTRICT COURT

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